         Case 1:20-cr-00103-DLC Document 30 Filed 12/30/20 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

 UNITED STATES OF AMERICA,                          CR 20–103–BLG–DLC

                      Plaintiff,

 vs.                                                        ORDER

MATTHEW JASON WELCH,

                       Defendant.

       United States Magistrate Judge Timothy J. Cavan entered his Findings and

Recommendation on December 15, 2020. (Doc. 29.) As neither party objected,

they are not entitled to de novo review of the record. 28 U.S.C. § 636(b)(1);

United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003). Therefore, the

Court reviews the Findings and Recommendation for clear error. McDonnel

Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir.

1981). Clear error exists if the Court is left with a “definite and firm conviction

that a mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427

(9th Cir. 2000).

       Judge Cavan recommends that the Court accept Defendant Matthew Jason

Welch’s guilty plea after Welch appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to Count I of the Indictment,

which charges wire fraud, in violation of 18 U.S.C. § 1343. (See sealed Doc. 1.)
                                          1
        Case 1:20-cr-00103-DLC Document 30 Filed 12/30/20 Page 2 of 2



      Finding no clear error, IT IS ORDERED that the Court ADOPTS the

Findings and Recommendation (Doc. 29) IN FULL.

      IT IS FURTHER ORDERED that Welch’s motion to change plea (Doc. 15)

is GRANTED, and Matthew Jason Welch is adjudged guilty as charged in Count I

of the Indictment.

      DATED this 30th day of December, 2020.




                                     2
